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EXHIBIT 1

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CHARGE OF DlSCRlMlNATION AGENCY crimes NuMaEn

 

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Texas Worl<force Commission - Civil R.igl;lts Division and EEOC

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Mark Gar°'a (832) 363_6930

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2300 S. 5"‘ St. Apt. F Austin, Texas 78704 05/1 7/ 1982

 

 

NAMED |S THE EMPLOYER, LA.BOR ORGANIZAT|ON. EMPLOYMENT AGENCY. APPRENT|CESH|P COMM|`|`|'EE, STATE OR LOCAL
GOVERNMENT AG ENCY WHO DISCRIM|NATED AGA|NST ME (l‘f more than one list below).

 

 

 

 

 

 

 

 

 

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This charge is filed because Mr. Marlc Garcia was discriminated against and ultimately
terminated because of his race and color.

Mr. Garcia, Hispanic male, first began working for Oracle/Netsuite on February 16, 2018.

At the time Oracle hired Mr. Garcia he had over 13 successful years in sales.

So, to say that Mr. Garcia was a highly qualified individual would be an understatement
During Mr. Garcia's employment with Oracle, Mr. Garcia always gave his best efforts.

In fact, he had absolutely no formal disciplinary history at the time of his termination

F or the first month of his employment Mr. Garcia had limited interactions with Ms. Katie
K.riete, white female, his direct supervisor.

For the first month of his employment with Oracle, Mr. Garcia, worked together with his peers
and his assigned enablement representative, Chrisanthy Harris, to navigate internal processes

lt was not until Ms. Kriete became more involved with Mr. Garcia that he began to notice the
racial animus that she held towards minorities

To Mr. Garcia’s knowledge, he was the only Latino individual that Ms. Kriete managed.

Ms. Kriete showed her true colors on March 15, 2018, which was their scheduled weekly one-

 

 

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on-one meetings (whether it was in person or over the phone).

Mr. Garcia expressed that he was focusing his sales efforts on all major cities in Texas,
including, Dallas, Houston, San Antonio and El Paso.

She immediately instructed Mr. Garcia to “not waste his time on San Antonio or El Paso
because they’re poor."

'Ihe fact that Ms. Kriete would single out the only majority Hispanic cities in his plan and
characterize them as "poor" shows bias and prejudice

But her biases against minorities would manifest once again during another reoccurring weekly
one-on-one meeting held on April 10, 2018.

During that meeting Ms. Kriete once again berated Mr. Garcia, and she point blank asked him,
“Are you stupid? Everyone else is bringing in deals."

She would then go to murmur under her breath, “You’re the only brown oneI guess.”

First, Ms. Kriete's critiques of Mr. Garcia’s performance are unfounded because the average
time frame for a new employee at Oracle/Netsuite to bring in their first deal is 7 to 8 months.

The employees that Ms. Kriete was comparing Mr. Garcia to were not new employees but

seasoned veterans at OraclefNetsuite.
At this point, Mr. Garcia had been with Oracle/NetSuite for only two months.
Second, this is an outright racists statement

Ms. Kriete implied that any alleged shortcoming of Mr. Garcia can be attributed to his race and

color.

Mr. Garcia became concerned and even developed insomnia as a direct result of Mr. Kriete’s

treatment

He had left a high paying position with Epicor to advance his career with Orac]e/Netsuite.
He felt as if he had no job security nom that point forward.
Mr. Garcia sought guidance from a life mentor, Federico Gonzales, because he was simply ata

loss of how navigate this issue.

Should he go to HR and report Mr. Krite or continue to perform in an effort to move past this

 

 

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The fact that he may have asked his co-workers how to do internal processes is completely

Ms. Kriete even directed Mr. Garcia to talk to his peers for guidance on internal processes

Lastly, the allegations that Mr. Garcia did not even know how to do a BANT analysis is not

Mr. Garcia has been using this basic qualifying skill (BA.NT) for over 13 years.
In fact, if he was unable to process leads or qualify opportunities using BANT he would not

have been able to keep any of his prior jobs in sales nor would he have been able to bring in his

Now, after his termination, Mr. Garcia has learned that he has been replaced by Christopher

Based upon the above stated facts, it is clear that Mr. Garcia was terminated because of his race

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normal for a new employee.
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only false but also absurd.
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Erst deal with Oracle in about three months
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Bishop, a white male.
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'I'hcse actions show a clear violation of Title VII of the Civil R.ights Act of 1964 and Texas
Labor Code.

 

 

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l swe affirm that l ve read the above charge and that it ls true to the

 

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